905 F.2d 1531Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ricky Lee OWENS, Petitioner-Appellant,v.Edward W. MURRAY, Director of Virginia Department ofCorrections, Respondent-Appellee.
    No. 89-6784.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 7, 1990.Decided May 17, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Robert G. Doumar, District Judge.  (C/A No. 89-116-N)
      Ricky Lee Owens, appellant pro se.
      Frank Snead Ferguson, Assistant Attorney General, Richmond, Va., for appellee.
      E.D.Va.
      DISMISSED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Ricky Lee Owens seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Owens v. Murray, C/A No. 89-116-N (E.D.Va. July 19, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    